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                                       EXHIBIT A


                                                       DATE FILED: February 14, 2020 3:04 PM
   District Court, Arapahoe County, Colorado           FILING ID: 36E5BAFBF0822
   Arapahoe County Justice Center                      CASE NUMBER: 2020CV30376
   7325 S. Potomac Street
   Centennial, Colorado 80112



   DENNIS JONES and
   JAMES WELCH, individually and on behalf of all
   others similarly situated,

          Plaintiffs,

   v.

   INTRADO LIFE & SAFETY, INC.,
   a Delaware Corporation,

          Defendant.                                              COURT USE ONLY


   David H. Miller, Atty Reg. 8405
   Adam M. Harrison, Atty Reg. 50553                         Case No:
   THE SAWAYA & MILLER LAW FIRM
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   Attorneys for Plaintiffs



         INDIVIDUAL, COLLECTIVE AND CLASS ACTION COMPLAINT


         The Plaintiffs, Dennis Jones (“Jones”) and James Welch (“Welch”) (collectively,
  “the Plaintiffs”), on behalf of themselves and all others similarly situated, by and through
  the undersigned counsel from the Sawaya & Miller Law Firm, pursuant to the Fair Labor

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  Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”) and Article XVIII, Section 15 of the
  Colorado Constitution, the Colorado Wage Claim Act, C.R.S. § 8-4-101 et seq., and the
  Colorado Minimum Wage Order, 7 C.C.R. 1103-1 (collectively, “Colorado Wage and
  Hour Law”), as their Individual, Collective, and Class Action Complaint against the
  Defendant, Intrado Life & Safety, Inc., a Delaware corporation (“Intrado”), state as
  follows:
                                NATURE OF THE CASE

  1.     The Plaintiffs, on behalf of themselves and all employees who were subject to
  Intrado’s illegal policies (“the Class Members”), allege that Intrado violated the FLSA and
  Colorado Wage and Hour Law by failing to pay the Plaintiffs and the Class Members
  overtime compensation at one and one-half times their regular rates of pay for all of the
  hours they worked in excess of 40 per week and/or 12 per day.

  2.     The FLSA and Colorado Wage and Hour Law require employers to pay their
  employees overtime compensation of one and one-half times their regular rates of pay for
  the hours employees work in excess of 40 per week. 29 U.S.C. § 207; 7 C.C.R. 1103-1.
  Colorado Wage and Hour Law also requires employers to pay overtime compensation for
  the hours employees work in excess of 12 per day or per shift.

  3.     Intrado violated the FLSA and Colorado Wage and Hour Law by failing to pay the
  Plaintiffs and other Class Members overtime compensation for all of the hours they worked
  in excess of 40 per week and/or 12 per day.

  4.     At all times relevant to this Complaint, Intrado paid the Plaintiffs and the Class
  Members “overtime” that was calculated using their base rates of pay even though the
  FLSA and Colorado Wage and Hour Law required Intrado to pay overtime compensation
  based on a “regular rate” that included shift differentials.

  5.      The Plaintiffs also allege that Intrado violated Colorado Wage and Hour Law by
  failing to pay Plaintiffs and other Class Members holiday pay that it promised to them in
  writing.

  6.    The Plaintiffs allege that Intrado’s violations of the FLSA and Colorado Wage and
  Hour Law were willful.




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  7.     The Plaintiffs seek declaratory and injunctive relief, back wages, overtime
  compensation, liquidated damages, statutory penalties, service payments, reasonable
  attorney’s fees, costs of litigation, and costs of class action administration for themselves
  and the Class Members.

                                           PARTIES

  8.     The Plaintiffs are Colorado residents whose attorneys, the Sawaya & Miller Law
  Firm, are located at 1600 Ogden Street, Denver, Colorado 80218. The Plaintiffs are a
  current employee and a former employee of Intrado who seek to represent a class consisting
  of hundreds of employees who were subject to Intrado’s illegal wage and hour policies.

  9.     Defendant Intrado is a Delaware corporation that is primarily involved in
  telecommunications and public safety. Intrado does business in the State of Colorado out
  of its Colorado headquarters at 1601 Dry Creek Drive, Longmont, Colorado 80503. Its
  registered agent is located at 1900 W. Littleton Boulevard, Littleton, CO 80120.

  10.   At all times relevant to this Complaint, the Plaintiffs and the Class Members were
  “employees” of Intrado under the FLSA and Colorado Wage and Hour Law. See 29 U.S.C.
  § 203(e); C.R.S. § 8-4-101(5).

                               JURISDICTION AND VENUE

  11.    The Plaintiffs hereby incorporate the allegations in each of the foregoing paragraphs
  as though fully set forth herein.

  12.    This Court has original jurisdiction over this civil action pursuant to Article 6 § 9(1)
  of the Colorado Constitution.

  13.     Defendant Intrado’s registered agent is located at 1900 W. Littleton Boulevard,
  Littleton, CO 80120.

  14.   The facts and circumstances giving rise to this Complaint occurred in the State of
  Colorado.

  15.   Venue is proper under C.R.C.P. 90(c) because Intrado resides in Arapahoe County,
  Colorado.



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                                 FACTUAL ALLEGATIONS

                                 A. GENERAL ALLEGATIONS

  16.    The Plaintiffs hereby incorporate the allegations in each of the foregoing paragraphs
  as though fully set forth herein.

  17.   Intrado is a Delaware company that is primarily involved the businesses of
  telecommunications and public safety. It is part of Colorado’s “Service” and/or
  “Commercial Support” industries. See 7 C.C.R. 1103-1:1-1:2 (2019).

  18.    From March 14, 2016, to October 10, 2019, Intrado did business under the name of
  “West Safety Services, Inc.” On October 10, 2019, Intrado changed its name to
  “Intrado Life & Safety, Inc.”

  19.   At its Colorado headquarters, 1601 Dry Creek Drive, Longmont, Colorado 80503
  (“Longmont Facility”), Intrado employs approximately 700 individuals at any given time
  who perform services and support for 9-1-1 calls made by members of the public.

  20.    At all times relevant to this Complaint, Intrado, the Plaintiffs, and the Class
  Members were engaged in interstate commerce, using telecommunications equipment that
  crossed state lines to handle 911 calls and provide telecommunications and technology
  services across state lines.

  21.    Jones has been employed by Intrado as an hourly employee at the Longmont Facility
  since September 2017.

  22.   Jones’ base rate of pay is $27.09 per hour, and he is entitled to a shift differential of
  11% for the work he performs on the night shift.

  23.   Welch was employed by Intrado as an hourly employee at the Longmont Facility
  from April 2014 to December 2019.

  24.    Welch’s final base rate of pay was $20.11 per hour, and he was entitled to a shift
  differential of 11% for the work he performed on the night shift and a shift differential of
  6% for the work he performed on Saturday and Sunday.

  25.    Plaintiffs and other Class Members frequently worked more than 40 hours per week
  and/or 12 hours per day during their periods of employment. Jones estimates that he worked
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  overtime during 15-20 of the weeks that he was employed. Welch estimates that he worked
  overtime during at least 40 of the weeks that he was employed.

  26.    The Plaintiffs and other Class Members also frequently worked on holidays.

  27.    At all times relevant to this Complaint, Intrado had a policy or practice of paying
  the Plaintiffs and the Class Members “overtime” that was based only on the Plaintiffs’ and
  the Class Members’ base rates of pay, without regard for their earned shift differentials.

  28.     Intrado did not pay the Plaintiffs and the Class Members overtime compensation at
  a rate of one and one-half times their regular rates of pay, including differentials, for all of
  the hours they worked over 40 per week and/or 12 per day.

  29.    At all times relevant to this Complaint, Intrado had a written policy whereby it
  promised the Plaintiffs and Class Members that they would receive eight hours of holiday
  pay for each holiday that they were employed, regardless of whether they were scheduled
  to work.

  30.   Intrado also agreed to pay the Plaintiffs and the Class Members double time if they
  worked on a given holiday.

  31.    Intrado nevertheless failed to pay the Plaintiffs and other Class Members all of the
  holiday pay, overtime compensation, and double time that was owed to them. For example,
  Intrado failed to pay Welch holiday for New Years Day, January 1, 2019.

  32.    Welch sent multiple demands to Intrado for the overtime compensation and holiday
  pay that were owed to him, however, Intrado has yet to pay Welch all of his wages.

  33.     Welch also filed a claim with the Colorado Department of Labor and Employment
  (“CDLE”) regarding Intrado’s unlawful failure to pay his wages during one of the months
  of his employment: January 2019.

  34.     On December 10, 2019, the CDLE issued a “Notice of Determination” declaring
  that Intrado’s overtime policy was “not in accordance with wage and hour law.”

  35.   The CDLE explained that “[t]he regular rate of pay is used to calculate overtime
  pay, which is determined by dividing the total remuneration provided to an employee based
  upon hours actually worked.”

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  36.    The CDLE further explained that “[r]egular rate of pay includes all compensation
  paid to an employee including the set hourly rate, shift differential, non-discretionary
  bonuses, production bonuses and commissions.”

  37.     The CDLE attached a “Notice of Assessment” to its Determination, requiring
  Intrado to pay Welch wages of $129.10 and penalties of $2,437.70 (which could be reduced
  to $1,218.85 if Intrado payed what was due within 14 days) for the overtime compensation
  if failed to pay during January 2019.

  38.      Despite receiving the CDLE’s Determination and Notice of Assessment, Intrado
  still failed to pay Welch appropriately for all of his overtime.

  39.    At all times relevant to this Complaint, Intrado was aware or should have been aware
  of the overtime provisions of the FLSA and Colorado Wage and Hour Law, but failed to
  pay the Plaintiffs and the Class Members appropriately for their overtime. As such,
  Intrado’s actions towards the Plaintiffs and the Class Members were “willful” as defined
  by the FLSA and Colorado Wage and Hour Law, and three year statutes of limitations
  apply to the Plaintiffs’ and the Class Members’ claims asserted herein.

                               B. COLLECTIVE ALLEGATIONS

  40.    The Plaintiffs hereby incorporate the allegations in each of the foregoing paragraphs
  as though fully set forth herein.

  41.    In addition to bringing their claims in this action individually, the Plaintiffs bring
  this case as a collective action on behalf of all similarly-situated employees (“FLSA
  Collective”) under 29 U.S.C. § 216(b). The FLSA Collective includes:

                All individuals who worked for Intrado as hourly employees from February
                14, 2017 to the present.

  42.    The FLSA Collective Members are “similarly-situated” under the FLSA because
  they were all subject to Intrado’s illegal policy or practice of failing to pay overtime
  compensation at a rate of one and one-half times their regular rates of pay for all of the
  hours they worked over 40 per week.

  43.    The Plaintiffs have consented to be part of the FLSA Collective, and their Consents
  to Join are attached hereto as Exhibit 1.

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                                   C. CLASS ALLEGATIONS

  44.    The Plaintiffs hereby incorporate the allegations in each of the foregoing paragraphs
  as though fully set forth herein.

  45.     In addition to bringing their claims individually and on behalf of the FLSA
  Collective, the Plaintiffs also bring this case as a class action under C.R.C.P. 23 on behalf
  of the following Class Members:

                All individuals who worked for Intrado as hourly employees from February
                14, 2017 to the present.

  46.    The Class satisfies the prerequisites and requirements of C.R.C.P. 23 because:

            a. The Class consists of hundreds of employees. Joinder of all such employees
               is impracticable;

            b. There are questions of law and fact that are common to the Class, which
               questions predominate over issues affecting only individual Class Members,
               including whether:

                    i. Whether Intrado had a policy or practice of failing to pay the Class
                       Members overtime compensation of one and one half times their
                       regular rates of pay for all of the hours that they worked over 40 per
                       week;

                   ii. Whether Intrado had a policy or practice of failing to pay the Class
                       Members overtime compensation for all of the hours they worked
                       over 12 per day;

                  iii. Whether Intrado had a policy or practice of paying the Class Members
                       all of the holiday pay to which they were entitled under its policies;

                   iv. Whether Intrado’s policies or practices violated Colorado Wage and
                       Hour Law;

                   v. Whether Intrado’s policies or practices generally harmed Class
                      Members; and


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                   vi. Whether Intrado has any defenses for its creation and use of such
                       illegal policies or practices;

            c. The Plaintiff’s claims are typical of the Class Members’ claims because they
               were denied overtime compensation, and holiday pay in violation of the
               FLSA and Colorado Wage and Hour Law; and

            d. The Plaintiffs will fairly and adequately protect the interests of the Class.
               They have retained counsel that is experienced in wage and hour class
               litigation. The Plaintiffs and their counsel are free from any conflicts of
               interest that might prevent them from pursuing this action on behalf of the
               Class.

  47.    The prosecution of this case as a class action is superior to other methods of
  adjudication. The prosecution of separate actions by individual Class Members would
  create a risk of inconsistent or varying adjudications which would establish incompatible
  standards of conduct for Intrado. Adjudications with respect to individual Class Members
  would as a practical matter be dispositive to the interests of the other Class Members or
  substantially impair or impede their ability to protect their interests. Moreover, Intrado has
  acted on grounds generally applicable to the Class.

  48.    On information and belief, no Class Member has expressed any interests in
  controlling the prosecution of a separate action or commenced their own litigation.

                  INDIVIDUAL, COLLECTIVE, AND CLASS CLAIMS

                                           COUNT I:

        FAILURE TO PAY OVERTIME COMPENSATION IN VIOLATION OF THE FLSA

                                    29 U.S.C. § 201 et seq.

  49.    The Plaintiffs hereby incorporate the allegations in each of the foregoing paragraphs
  as though fully set forth herein.

  50.   At all times relevant to this Complaint, Intrado was an “employer” and an enterprise
  engaged in commerce under the FLSA. 29 U.S.C. § 203(b), (d), and (s).


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  51.   At all times relevant to this Complaint, the Plaintiffs and the Class Members were
  “employees” under the FLSA. 29 U.S.C. § 203(e).

  52.   Under the FLSA, Intrado was required to pay the Plaintiffs and the Class Members
  one and one-half times their regular rates of pay for all of the hours they worked over 40
  per week. 29 U.S.C. § 207.

  53.    Intrado violated the FLSA by failing to pay the Plaintiffs and the Class Members
  overtime compensation at a rate of one and one-half times their regular rates of pay for all
  of the hours they worked over 40 per week.

  54.    Because Intrado was aware, or should have been aware, of the overtime
  requirements of the FLSA and nevertheless failed to pay overtime compensation as
  required by the FLSA, the Defendant’s violations were willful.

  55.   Due to its violations of the FLSA, Intrado is liable for back wages for the overtime
  worked by the Plaintiffs and the Class Members, liquidated damages doubling the amount
  of wages, reasonable attorney’s fees, and the costs of this action. 29 U.S.C. § 216(b).

                                         COUNT II:

     FAILURE TO PAY WAGES IN VIOLATION OF COLORADO WAGE AND HOUR LAW

                                Colo. Const. Art. XVIII § 15
                                  C.R.S. § 8-4-101 et seq.
                                      7 C.C.R. 1103-1

  56.    The Plaintiffs hereby incorporate the allegations in each of the foregoing paragraphs
  as though fully set forth herein.

  57.   At all times relevant to this Complaint, Intrado was an “employer” covered by
  Colorado Wage and Hour Law. C.R.S. § 8-4-101(6); 7 C.C.R. 1103-1:1, 1:2 (2019).

  58.   At all times relevant to this Complaint, the Plaintiffs and the Class Members were
  “employees” of Intrado under Colorado Wage and Hour Law. C.R.S. § 8-4-101(5).

  59.   Colorado Wage and Hour Law requires employers to make prompt payment of all
  wages due to employees. C.R.S. § 8-4-103.


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   60.   At all times relevant to this Complaint, Intrado had a written policy whereby it
   promised to pay the Plaintiffs and the Class Members holiday pay for holidays they were
   employed but did not work and double time if they worked on a given holiday.

   61.    Intrado nevertheless failed to pay the Plaintiffs and other Class Members all of the
   holiday pay and double time that was owed to them.

   62.   The Plaintiffs’ and the Class Members’ holiday pay was “vacation pay” under
   Colorado Wage and Hour Law. C.R.S. § 8-4-101(14)(a)(III).

   63.   Alternatively, the Plaintiffs’ and the Class Members’ holiday pay was a “bonus”
   under Colorado Wage and Hour Law. C.R.S. § 8-4-101(14)(a)(III).

   64.    Intrado violated Colorado Wage and Hour Law by failing to pay the Plaintiffs and
   other Class Members all of the holiday pay that was owed to them.

   65.   Because Intrado was aware, or should have been aware, of the requirements of
   Colorado Wage and Hour Law, the Defendant’s violations were willful.

   66.    Due to its wage theft in violation of Colorado Wage and Hour Law, Intrado is liable
   for back wages, statutory penalties under C.R.S. § 8-4-109, reasonable attorney’s fees and
   costs.

                                          COUNT III:

               FAILURE TO PAY OVERTIME COMPENSATION IN VIOLATION OF
                           COLORADO WAGE AND HOUR LAW

                                 Colo. Const. Art. XVIII § 15
                                   C.R.S. § 8-4-101 et seq.
                                     7 C.C.R. 1103-1 § 4

   67.    The Plaintiffs hereby incorporate the allegations in each of the foregoing paragraphs
   as though fully set forth herein.

   68.     Colorado Wage and Hour Law requires employers to pay employees one and one-
   half times their regular rates of pay for all of the hours employees work over 40 per week,
   12 per day, and/or 12 per shift. 7 C.C.R. 1103-1 § 4.

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   69.    Intrado violated Colorado Wage and Hour Law by failing to pay the Plaintiffs and
   other Class Members one and one-half times their regular rates of pay for all of the overtime
   hours they worked.

   70.    Intrado’s violations of Colorado Wage and Hour Law were willful.

   71.   Due to its violations of Colorado Wage and Hour Law, Intrado is liable for back
   wages, statutory penalties under C.R.S. § 8-4-109, reasonable attorney’s fees and costs.

                                          COUNT IV:

                                    PROMISSORY ESTOPPEL

   72.    The Plaintiffs hereby incorporate the allegations in each of the foregoing paragraphs
   as though fully set forth herein.

   73.    Intrado promised to pay the Plaintiffs and the Class Members holiday pay for
   holidays they were employed but did not work and double time if they worked on a given
   holiday.

   74.   The Plaintiffs and the Class Members reasonably relied upon Intrado’s promises,
   remaining employed with the company and working on holidays when scheduled.

   75.    Intrado broke its promises to the Plaintiffs and the Class Members when it failed to
   pay them all of their holiday pay and double time, thus causing harm to the Plaintiffs and
   the Class Members.

   76.   Under these circumstances, justice, equity, and fairness require that Intrado’s
   promises to the Plaintiffs and the Class Members be enforced.

                                   PRAYER FOR RELIEF

         WHEREFORE, the Plaintiffs, individually and on behalf of the FLSA Collective
   and the Class Members, respectfully ask that the Court enter judgment against the
   Defendant and award the Plaintiffs and the Class Members:

          A. Conditional certification of the Plaintiff’s FLSA claims as a collective action
             under 29 U.S.C. § 216(b), with notice issued to all Class Members regarding this
             action;

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         B. Certification of this case as a class action under C.R.C.P. 23, appointment of the
            Plaintiffs as class representatives and the undersigned attorneys from the Sawaya
            & Miller Law Firm as class counsel, and notice of the action to all Class
            Members;

         C. A declaratory judgment condemning the Defendant’s willful violations of the
            FLSA and Colorado Wage and Hour Law;

         D. A preliminary injunction prohibiting the Defendant from continuing its illegal
            wage and hour policies and practices;

         E. A permanent injunction prohibiting the Defendant from continuing its illegal
            wage and hour policies and practices;

         F. Actual damages in the amounts promised but not paid to the Plaintiffs and the
            Class Members;

         G. Overtime compensation for all hours worked by the Plaintiffs and the Class
            Members in excess of 40 per week and/or 12 per day;

         H. Back wages for all holiday pay that was improperly withheld from the Plaintiffs
            and the Class Members;

         I. Liquidated damages as provided by 29 U.S.C. § 216(b);

         J. All applicable statutory penalties provided under Colorado Wage and Hour Law;

         K. Service payments to the Plaintiffs for their services to the Class Members;

         L. The Plaintiff’s reasonable attorney’s fees;

         M. The costs of this action;

         N. An order requiring the Defendants to pay the costs of administering any and all
            payments awarded to the Class Members by the Court; and

         O. Any other and further relief that may be equitable and just.

                                                   Respectfully submitted,


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                                            /s/ Adam M. Harrison
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